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12                            UNITED STATES DISTRICT COURT
13                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                 WESTERN DIVISION
15   IRISH ROVER ENTERTAINMENT,                 Case No.: 2:20-cv-06293-CBM-PLAx
16   LLC, a California limited liability
     company,                                   Judge: Hon. Consuelo B. Marshall
17                                              Magistrate Judge: Hon. Paul L. Abrams
18               Plaintiff,
                                                ORDER TO CONTINUE TRIAL
19         vs.                                  DATE AND EXTEND ALL RELATED
                                                PRE-TRIAL DEADLINES [53]
20
     AARON SIMS, an individual; MATT            [Filed concurrently with Joint Stipulation
21   DUFFER,       an    individual;  ROSS      To Continue Trial Date And Extend All
22   DUFFER, an individual; NETFLIX,            Related Pre-Trial Deadlines]
     INC., a Delaware corporation; NETFLIX
23   STREAMING SERVICES, INC., a                Complaint Filed: July 15, 2020
24   Delaware corporation; 21 LAPS, INC., a     Trial Date: August 23, 2022
     California corporation; and DOES 1
25   through 50, inclusive,
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                 Defendants.
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     ORDER TO CONTINUE TRIAL DATE AND EXTEND ALL RELATED PRE-TRIAL DEADLINES
 Case 2:20-cv-06293-CBM-PLA Document 54 Filed 11/01/21 Page 2 of 3 Page ID #:1001




 1                                            ORDER
 2         The Court, having read and considered the foregoing Stipulation between the parties,
 3   and good cause appearing thereof, hereby ORDERS as follows:
 4         1.     The non-expert discovery cutoff date, currently set for December 27, 2021, is
 5   extended for a period of ninety (90) days to March 28, 2022;
 6         2.     The initial expert disclosures deadline, currently set for January 25, 2022, is
 7   extended for a period of ninety (90) days to April 25, 2022;
 8         3.     The rebuttal expert disclosures deadline, currently set for February 22, 2022,
 9   is extended for a period of ninety (90) days to May 23, 2022;
10         4.     The expert discovery cutoff date, currently set for March 15, 2022, is extended
11   for a period of ninety (90) days to June 13, 2022;
12         5.     The settlement conference deadline, currently set for March 31, 2022, is
13   extended for a period of ninety (90) days to June 28, 2022;
14         6.     The last day to hear motions, currently set for May 24, 2022, is extended for
15   a period of ninety (90) days to August 23, 2022;
16         7.     The Pre-Trial Conference, currently set for July 26, 2022 at 2:30 p.m., is
17   continued for a period of ninety (90) days to October 25, 2022 at 2:30 p.m.; and
18         8.     Jury Trial, currently set for August 23, 2022 at 10:00 a.m. (est. 7 days), is
19   continued for a period of ninety (90) days to November 29, 2022 at 10:00 a.m.
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21         IT IS SO ORDERED.
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23   Dated: NOVEMBER 1, 2021                      _________________________________
24                                                HON. CONSUELO B. MARSHALL
                                                  UNITED STATES DISTRICT JUDGE
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      ORDER TO CONTINUE TRIAL DATE AND EXTEND ALL RELATED PRE-TRIAL DEADLINES
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1                                     PROOF OF SERVICE
2    STATE OF CALIFORNIA                   )
                                           )      ss
3    COUNTY OF LOS ANGELES                 )
4           I am employed in the County of Los Angeles, State of California. I am over the age
5    of 18 years of age and am not a party to this action. My business address is 222 North
     Pacific Coast Highway, Suite 2222, El Segundo, CA 90245.
6
            On October 29, 2021, I served the document(s) as described below on interested
7    parties in this action as follows:
8
     [PROPOSED] ORDER TO CONTINUE TRIAL DATE AND EXTEND ALL
9    RELATED PRE-TRIAL DEADLINES
10
       ☒ electronically by using the Court’s ECF/CM System.
11
            David A. Grossman, Esq.                    Attorneys for Defendants Aaron Sims,
12          Safia G. Hussain, Esq.                     Matt Duffer, Ross Duffer, Netflix, Inc.,
13          Loeb and Loeb LLP                          Netflix Streaming Services, Inc., and
            10100 Santa Monica Boulevard               21 Laps, Inc.
14          Suite 2200
15          Los Angeles, CA 90067-4120
            Email: dgrossman@loeb.com
16                 sghussain@loeb.com
17
18
           I declare under penalty of perjury under the laws of the State of California that the
19
     above is true and correct.
20
           Executed on October 29, 2021, at El Segundo, California.
21
22
23                                                       /s/ Jon Austin Raymundo
24                                                       Jon Austin Raymundo
25
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27
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                                          PROOF OF SERVICE
